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                                              UNITED STATES DISTRICT COURT                                                Ee.AU0 1e                2019
                                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                                                                                           THOMAS G, BRUTON
                                                                                                                       CLERK, U.S. DISTR]CT COURT




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                                    COMPLAINT OF EMPLOYMENT DISCRIMINATION

 1.         This is an action for employnent discrimination.

 2.         The plaintiff is                                                                                                                   of the

 county          * ? .f.s"                                                      inthe
                                                                                         "rur"ot       Q/^u,,'.s                           .




 3.         The defendant is

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 street addre


 @itgl-u-aca-@ounty),l{ane t or"l@*rr-gw> ho?ol
 (Defendant's                 telephonenumber)                 fbl-            ffi( t z'Lgb
 4.         The plaintiff sought employment or was employed by the defendant at (street address)

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            (county)          kzrr-..      e Grur"Qro,s.lzw codel Amtlo L




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5.       The plaintiff lcheck one box)

         (a) El          was denied employment by the defendant.

         (b) tr          was hired and is still employed by the defendant.

         (c) tr1^remptoyed but is no longer employed by the defendant.
6.       The defendant discriminated against the plaintiff on or about, or beginning on or about,
         (month)       {4,. /o  , @uy)-\9_, (year)-2blS_.

7.1      (Choose paragraph 7.1            or   7.2, do not complete both.)

         (a)     The defendant is notg.Herd governmental agency, and the plaintiff
                 lcheck one box) Plfas Ehas not fileda charge or charges against the defendant

                 asserting the acts of discrimination indicated in this complaint with any of the

                 following government agencies              :



                 (i) *KUnred               States Equal Employment Opportunity Commission, on or about

                         (month)
                             .// Apm;
                                                 I         fauv)       ?Q       (year)     2otT         .




                 (ii)    Nlh"Illinois Department                of Human Rights, on or about

                          lmonth)4a-r),                   @ag          l"t&     (year)    2bl?.
         (b)     If   charges were    fied with an agency indicated above,                a copy    of the charge is

                 attached.   6*,8              No, but plaintiff witl file a copy of the charge within 14 days.


         It is the policy of both the Equal Employment Opportunity Commission and the Illinois

         Department of Human Rights to cross-file with the other agency all charges received. The

         plaintiff has no reason to believe that this policy was not followed in this case.



7.2      The defendant is a federal governmental agency, and

         (a)          the plaintiff previously filed a Complaint of Employment Discrimination with the

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         defendant asserting the acts of discrimination indicated in this court complaint.

                       E    Yes    (month)         rts/,L                (day)
                                                                                 rClli, (year) (U, I I
                       E    No, did not file Complaint of Employment Discrimination

         (b)           The plaintiff received a Final Agency Decision on                    (month) -,, ,*
                       (day)    zt LtL          (year) , llt
         (c)           Attached is a copy of the

                       (i) Compla int of Employment Discrimination,

                                            E    No, but a copy will be filed within 14 days.
                            "A
                       (ii) Final Agency Decision

                            .r<             E   N0, but a copy will be filed within 14 days.


8.       (Complete paragraph 8 only                  if defendant is not afederal governmental agency.)

         (a)     tr         the United States Equal Employnent Opportunity Commission has not

                            issued a Notice of Right to Sue.


           fA>   fiUnited             States Equal Employment Opportunity Commission has issued

                            a   Notice of Right to Sue, which was received by the plaintiff on

                            (^ontD4oL-                        @O                    $   ear)-2ofl-a           copy of which
                                                                     -@-
                            Notice is attached to this complaint.


9.       The defendant discriminated against the plaintitf because of the plaintiff s lcheck only

         those that upply):

         (a) tr         Age (Age Discrimination Employment Act).

         (b) E          Color (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. $1981).



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         (c) tr        Disability (Americans with Disabilities Act or Rehabilitation Act)

         (d) E         N4tional Origin (Title VII of the Civil Rights Act of 1964 and,42 U.S.C. $1981).
              ,/
         (e) VRu".            (Title VII of the Civil Rights Acr            of 1964 and42 U.S.C. $1981).
         (0 tr         Reftion (Title VII of the Civil Rights Act of 1964)
               ,/
         (g) VSex           (Title VII of the Civil Rights Act of 1964)


10.       If the defendant is a state, county, municipal (city, town                       or village) or other local

         governmental agency, plaintiff further alleges discrimination on the basis of race, color, or

         national origin (42 U.S.C. g 1983).


11.       Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII

         claims by 28 U.S.C.$1331,28 U.S.C.$1343(a)(3), and42 U.S.C.$2000e-5(f)(3); tor 42

         U.S.C.$1981 and $1983 by 42 U.S.C.$1988; for the ADA by 42 U.S.C.$l2ll7; for the

         Rehabilitation Act, 29 U.S.C. $ 791; and for the ADEA, 29 U.S.C. g 626(c).


12.       The defendant lcheck only those that applyl
         (a)     tr   fa)pd to hire the plaintiff.

          fA>{t         rryiHated the    plaintiffls employment.

         (") iilrd           to promote the plaintiff.

         (d)     tr   failed to reasonably accommodate the plaintiff                  s   religion.

         (e)     tr   failed to reasonably accommodate the plaintiff s disabilities.

         O dil"d             to stop harassment;
                ,/
         re) vi.,,ftt3gg                                                                                        to assert rights
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         (h)     tr   other (specify):


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 13.      The facts supporting the plaintiff s claim of discrimination are as follows:




14.      IAGE DISCRIMINATION ONLYI Defendant knowingly, intentionally, and willtully
         discriminated against the plaintiff.

15.      The plaintiff demands that the case be tried by a jury.                      dO              *,
16.      THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
         lcheck only those that applyl

         (a)          E    Direct the defendant to hire the plaintiff.

         (b) E             Direct the defendant to re-employ the plaintiff.

         (c)          E    Direct the defendant to promote the plaintiff.

         (d)          E    Direct the defendant to reasonably accommodate the plaintiff                         s   religion.

         (e)          E    Diregt the defendant to reasonably accommodate the plaintiff s disabilities.
                           -/
         (f)         {oirectthedefendantto(specify):                       ,4                              - ,1,", -1 UF
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         (e)              If available, grant the plaintiff appropriate injunctive relief, lost wages,
                          liquidated/double damages, front pay, compensatory damages, punitive
                          damages, prejudgment interest, post-judgment interest, and costs, including
                          reasonable attorney fees and expert witness fees.

         (h)         tr   Grant such other relief as the Court may find appropriate.




         (Plaintiffs      s



         (Plaintiffs name)


         (Plaintiff s street address)


          rciql      QA/.,,^"r- GtatqQ                                        (nD      l-^l4-
         (Plaintiff s telephone number)              (b) -               )t\t ^ 2Sl')

                                                                                   Date: U/f ' ^^',




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..ITEM 13 CONTINUED''

Hello, my name is Mark R Sanders and the following describes in detail why I believe I have
been discriminated against by the defendant. It is my claim that Symphony of Orchard Valley
and the Symphony Network have violated my civil rights by subjecting me to practices (through
employment) that are based in racism (black male), gender, harassment and retaliation all of
which has caused me great mental anguish and financial distress. The following statements will
lay out in detail (with evidential attachments) the events that lead to me filing my EEOC charge,
my subsequent retaliatory firing and continued events after the fact.

Sometime around January of 2015 I was hired as a floor nurse at Symphony of Orchard Valley
(known as Countryside at that time). For the first five months I worked as a float nurse which
means I did not have an assigned work section and that I would go from one section to another.
Around this five month mark I requested to be assigned to a permeant work section which was
capriciously denied. Over the course of the next two months two female nurses (Irene,
Viridiana) were hired and immediately assigned permeant sections which was peculiar to me
since I had just requested a permeant section. So, I made another request (denied). Almost ayear
and a half would pass before I was eventually given my own section all the while female nurses
were being hired into permeant sections (i.e. nurse Avis).

Next, sometime around June of 2016 (attachment #1) I was approached by my shift supervisor
and asked if I had gotten fried chicken for lunch, implying since I'm black that's what I'm
expected to do. I let the incident go as an off colored remark and moved on. About a week or two
later this same supervisor comes to me asking me if I want a banana with a smirk on her face.
Saying "yeah I bet you want a banana". At which point I had had enough, and I wrote a letter to
my administrator describing what had happened. I was told that the situation would be
investigated and that someone would get back to me about the matter. Nothing ever happened.
This person was never admonished (as far as I know) and she continued as my supervisor for the
next six months until she left of her own accord.

Next, March of 20ll I had just earned my Nursing Home Administrators License (NHAL) and I
wanted to apply for a promotion within the company seeing as how they had a dedicated
apprentice program for new administrators. So, I gave a copy of my Administrators License to
the human resources department and I was told someone would get back to me. Two days later I
was approached by the human resource director and told that I should look outside of the
company for an opportunity in this position and that I shouldn't bother putting in an application,
which I interpreted as a rejection because of my race.

Later,that same month my Director of Nursing (D.O.N.) rearranged my work section to assign
me more patients to care for in an effort to appease another floor nurse (white female) on top of
that almost all of the new admissions (new arrived patients, which requires and extensive amount
of processing) were being diverted my way in addition to my normal duties of supervising
assistive personnel, administering medications and relaying labs and diagnostics it all became
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..ITEM 13 CONTINUED''

too much to handle. So, in an effort to maintain my sanity I decided to take a couple of mental
health days off. During those days off I was berated, suspended and written up via text message
by my D.O.N. To which I was forced to write the corporate office in an effort to save my job
(Attachment #2).lnever got a response from anyone and no one ever came to me to speak about
the matter. April of 2017, I obtained a law firm and filed a charge with the EEOC to protect
myself from my employer.

Next, in December of 2017 I wrote a letter to the corporate office (Attachment #3) due to the fact
that I had started to get unsubstantiated write ups in what I perceived as a retaliatory effort to
build a case for firing me. This time I did get a response. The corporate office sent two
consultants to speak to me on the matter. I had requested that these recent write ups be removed
from my file. The consultants explained to me that they could not tell the employer what to do
and that Symphony were refusing to remove the write ups.

Next, April of 2018 there was a confrontation between me and the D.O.N. to which another
 document was sent to the corporate offrce (Attachment #4). Two days after submitting this
 document I was fired in what I can only describe as a conspiracy between the D.O.N and the
 administrator (her twin sister) and the corporate office to build a weak case (in retaliation for
 filing my EEOC charge) against me on allegations to which no other nurse would be fired for.
 During this time, I had been in contact with the VP of human resources (Scott Norton). An
 investigation was done by the VP of human resources to which he claims that my firing was
justified.

Finally, in September of 2018 I received a letter from the Illinois Department of Employment
Securities stating that an appeal had been filed by my former employer in an effort to revoke my
benefits. I also took this as a retaliatory measure to bring me undue distress and hardship.
Symphony had hired a third-party firm (Personnel Planners) to come after my unemployment
benefits which in my suspicion is not a standard practice by the company and was only applied
in my case as a form of harassment and retaliation. Also this action was somewhat frivolous due
to the fact that the deadline to contest my benefits had passed almost five months prior. So, a
letter was written to the administrative judge in this matter (Attachment #5) in an effort to abate
any kind of discontinuation / repayment of my benefits.
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"ITEM 13 CONTINUED"                                                                    EXHIBIT   1




Mark R. Sanders                                                                        July 8, 2016
P.O. Box 5053
Aurora, IL 60507




Symphony of Orchard Valley
2330 W Galena Blvd.
Aurora, IL 60506


Dear: Administration / Human Resources


Hello, My name is Mark R Sanders and this is my letter of an Official Grievance. Over the pass
two weeks I have had two incidents with the PM supervisor (Rebecca / Becky) and her use of
racial insensitive comments while speaking to me. The first incident came when I had retuned
from lunch and sat down at my computer to get started with my work. I was approached by
Rebecca and she proceeded to ask me about my lunch and had I gotten some fried chicken. I
proceed to ignore the comment and continued with my work. Incident two came about a week
later. Once again I was sitting at my computer desk and I was approached by Rebecca at which
point she offer me a plum, to which I declined. She procced by saying "no, I bet you want a
banana" with a smirk on her face. I've found this comments to be very disconcerting and rude. I
was hesitant in reporting this matter for fear of retaliation and potentially losing my job, because
it appears this person (Rebecca) is close to my Director of Nursing (D.O.N.). To which I've had
an incident in the pass with a close acquaintance of the D.O.N. where I was suspended for two
days and had my job threatened over whether or not I had given a breathing treatment. It is my
personal opinion that a PM supervisor is a unnecessary position. Reason being is that this person
has very little to do in the position which causes them to micromanage so they can appear to be
useful. But, in actuality they tend to cause more problems than they solve. What is needed is an
Admissions Nurse to provide continuity, accuracy and completeness to all new admissions.
Which currently is hit or miss. In closing I felt that it was necessary to submit this grievance for
my own protection and to intervene / discourage further behavior of this sort form the PM
supervisor.

A sub grievance to this grievance is that I have been asking for my yearly review repeatedly for
the last several months and I've gotten nothing but the run around. So, please. I would like to
resolve this this issue also as soon as possible. Thank you.



Sincerely,



Mark R. Sanders
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"ITEM 13 CONTINUED"
                                                                                   EXHIBIT 2




Mark R Sanders                                                                     March 20,2017
P.O. Box 5053
Aurora, IL 60507




Symphony of Orchard Valley
2330 Galena Blvd.
Aurora, IL 60506




To: Whom it may concern / Administration


Hello, my name is Mark Sanders and I am a floor nurse here at Symphony of Orchard Valley.
I'm writing this letter in response to a disciplinary action that was levied upon me for what I
believe are unjustifiable reasons. It is my opinion that these actions are retaliatory in nature and
are an attempt to set me up for a Constructive Dismissal. In orders to understand my reasoning a
little bit of back story is required.

On March 14,2017 . I was assigned to work on the 3- I 1 shift 500 wing. At 4:30 Pm it was
brought to my attention that going to have two new admissions coming in on this shift which is a
rarity due to how time consuming and multi-faceted the process is to complete an admission. Just
days earlier my census load was reorganized to add one whole half of the two hundred wing to
my list of resident's / guest that I'm responsible for which takes time to adjust to (mind you, I
had been told a week earlier by my Director of Nursing (D.O.N.) that the two hundred wing
would be taken over by one single nurse in its entirety and would no longer be a part of my
assigned census). Long story short, my two admissions didn't arrive until after 8:30 Pm which is
a problem because at that time I'm in the middle of my second medication pass and I'm also
inundated with other distractions that are apart of the shift (very stressful). My work shift is
scheduled to end at 11:00 Pm which didn't leave me enough time to complete my admissions as
thoroughly as I would have liked to have (and had done in the past). I left the facility at my
scheduled time with incompleted forms and no batch orders which I felt could were not time
sensitive and could be completed the following day on my scheduled shift.

On March 15,2017.I received a text message from my Director of Nursing (D.O.N.) saying that
I needed to come into work early to go over the two admissions from the previous night. On a
side noted I think it's highly inappropriate and intrusive to be continuously texted on things that
should be handled during my working hours. I was never asked if it were okay to text me and I
think the practice should be discontinued. Back to the story. I arrived at work at my scheduled
time and I stopped in to see my D.O.N as requested. I was brought to my attention that I had
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supposedly missed entering a medication (to which I was being charged with a medication error)
into the computer for one of my new admissions and that I had incomplete forms and no batch
orders. To which my response was a request for reformation of how the admission process is to
be completed. My D.O.N. did consider the fact that the additional rooms from the two hundred
hall may have been a mitigating factor in my incomplete admissions and suggested that I endorse
incompleted admissions over to the next shift (which was unrealistic, seeing as how third shift
has no clue on how to do an admission) from now on. Side note, I think that it's unfair that
admissions only come on the 3-11 shift and it is especially unfair to have one nurse have
multiple admissions on one shift (it is overwhelming). I feel that the 1-3 shift should have to
partake in admissions also (which happens every blue moon).

So, from that point I leave my D.O.N's office and I start my normal shift. To my surprise, it was
anything but normal. A discharge was endorsed to me from a previous shift, orders were being
written from left to right from doctors and NP's in addition to a slew of other pertinent
distractions. But the icing on the cake was that I was to get three admissions for the night (which
at the time felt like they were asking me to do the impossible). There was no way to endorse any
parts of these admissions to the next shift because the person who came on behind me was a "as
needed" nurse who had no idea on how to complete an admission. I had to ask myself was this
being done intentionally? was I being set up to fail or make a mistake (conjecture). I responded
to this by requesting the next two additional work days off due being over worked / over stressed
and the fact that I did not feel that I could affectively do my duties without regathering and
resetting my approach to the new challenges that I was now facing. Now, mind you I was taking
these days off to relive some mental stress and to regather myself. Instead, over the course of the
next two days my stress was compounded by multiple text messages, false allegations, being
held liable for things that were out of my control and a two-day suspension all coming from my
D.O.N.

On March 16,2017.I received a text message from my D.O.N. asking me if I were coming into
work today. To which I replied no, and that I had told the scheduler the previous day that I
wasn't coming in the for the next two days. Then I received a text message from the scheduler
asking the same thing (even though I had confirmed this with her the previous day). Nothing else
was said by either person for the rest of the day.

March 17,2017.I received another text message from my D.O.N. saying that she need to speak
with me after her morning meeting and that she would call me. At about 2:00 Pm I f,rnally
received a call from her stating the following: 1) There was a fall on my shift to which I sent a
resident out to the ER (under a doctor's orders) and she claims that I did not notify her about the
resident being sent out, which is false. I called her twice. The first time no answer and the second
time I left a message.2) One of my three admission was a guest that had a large dose of
Methadone as a part of her discharge orders. Now, even though I followed standard operating
procedures by going over the medication list with the doctor and entering this information into
our system and faxing the medication list to pharmacy as I have always done I was told by my
D.O.N. that I should never had accepted this resident with such alarge dose of Methadone
(which was explained to me that such a large dose is used to treat drug addiction) and that I
should have contacted her in regards to this matter and I was being suspended for two days for
these infractions. It is my understanding that screening of potential residents / guest is the duty of
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"ITEM 13 CONTINUED"                                                               EXHIBIT 2


the D.O.N. and I've never on any admission in the past contact any D.O.N. in regards to
medications on admissions.

This is when I noticed a pattern emerging from my D.O.N. where she'll allow me to be
overwhelmed with a workload and afterward will take a fine-tooth comb and search for errors in
my work. If she doesn't find any elrors, she'll conjure up some effors which leaves me valuable
in ways of a Constructive Discharge from this company and attempts made against my nursing
license (all of which effect my livelihood). There are times where I feel as if this D.O.N. has me
in her crosshairs and wants to me uncomfortable enough to where I quite in frustration or I make
enough mistakes to justifu my termination. It took her a whole day and a half to come up with
some soft of excuse to punish me which, I think she did it just to get back at me for calling off
for two days (as if I were trying to slight her somehow by calling off for two days).

To remedy this situation may I suggest the follow: 1) Have an outside consultant come in and
show this D.O.N. how to plan, organize, forecast, command, coordinate and control her staff in
an efficient and effect way instead of shooting from the hip (as perceived by me). 2) Spread out
admissions evenly and fairly as not to overwhelm any one nurse. Or, possibly hire a full time
second shift two hundred wing nurse. Or, have the PM supervisor also operate as an admissions
nurse. 3) Stop the text messaging on the personal phones. The Point Click Care system has a
built-in messaging service that should be adequate for one to one message between all staff.

While I have your attention I'd also like to make a request in regards to my rate of pay. For the
past two years, I have been requesting a formal performance review to which has fallen on deaf
ears. So, I'll ask again right here and now. It is my intention to end my medical service career
within the Symphony network. I have just recently passed my Illinois Nursing Home
Administrator Exam (and am now licensed) and would like to move up within the company's
network when positions become available. I was recently told by the Human Resource
Department here at Symphony of Orchard Valley that there were no current openings within the
network and that I should look outside of Symphony to get my foot in the door from another
company, but I think I'll just be patient and wait for an opportunity here. Also, before this years
is completed it is my intention to become a certified Gerontology Nurse and to become certified
in Advanced Life Support. I'm committed to this company and I would hope that this company
would reciprocate this sentiment by increasing my base rate of pay to a modest $35 an hour.
Thank you.


Sincerely,


Mark R. Sanders, LPN, RN, BABA, LNHA
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"ITEM 13 CONTINUED"                                                              EXHIBIT 3




Mark R Sanders                                                              December 05,2017
P.O. Box 5053
Aurora, IL 60507




Symphony of Orchard Valley
2330 W. Galena Blvd.
Aurora, IL 60506


Dear: Administration or to whom it may concern


My Name is Mark Sanders and I 'am currently employed as a nurse here at Symphony of
Orchard Valley. I'm writing this letter to officially contest two write ups that were given to me
within the last forty-five days. I feel that these write ups were haphazardly investigated and
lacked efficient evidence to give them any real merit. What follows is my defense and
explanation as to why these two infractions should be removed from my file immediately.

The first write up that I would like to refute is an alleged medication error. Resident x was
prescribed two different dosages of Metformin (1,000 and 500 mg). I was charged with not
giving the 1,000 mg of Metformin as scheduled for my shift based on unremoved tablets for the
bingo cards. It was inferred that based on the dispensary date printed on the bingo card that more
tablets should have been removed from the package by that date in time of this offence, which is
evidence of nothing. l) Just because there's a dispensary date printed on the package doesn't
mean that the medication was available for use on that day. Our pharmacy is notorious for a long
lag time between ordering medication and the medication arriving. Even if I did anive when
said, it is not uncommon for medication to be miss filed and miss placed within the facility. It
was never considered that I may had been giving two tabs of the Metformin 500 mg. It is my
opinion that nothing was proven in this instance and this write should be removed from my file.

My most recent write up involved a room change due to a resident testing positive for C-Diff. I
was charged with Incomplete / unsatisfactory work. On November 27,2017 I received a lab
stating that resident xx had tested positive for an infectious disease. I immediately contacted my
D.O.N. (Director of Nursing) via PCC messaging to notiff her of this finding (as per policy).
Two hours later I received a message from my D.O.N. stating that room 609 was available and
that this resident should be moved. I immediately contacted the PM supervisor on shift at the
time and explained to her the situation that was going on with this resident and the order that was
given by the D.O.N. My PM supervisor went to this resident's room and noticed that he was
sleeping. She came back to me and told me that the room change would have to wait and that she
was not going to go out to the garage for the isolation supplies need for the room change because
she almost hurt herself the last time she was out there. At this point the situation was out of my
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"ITEM 13 CONTINUED"                                                             EXHIBIT 3



hands and I endorsed the room changing to the next shift. The next day I was written up by my
D.O.N. even though I explained to her how the situation unfolded and that I did not have the
authority to ovemrle my PM shift supervisor she proceeded to write me up anyway.

But, what I really found troubling about this most recent incident is the way in which I was
approached by my D.O.N. The encounter was full of unnecessary vitriol and hostility directed at
me from her. I felt disrespected and humiliated during the reproach of my duties and that this
whole situation could have been handled with more tact and professionalism form my D.O.N.
This is not the first time that she has spoken to me with contempt, but I 'am hoping the it is the
last.

Now, normally I would follow the chain of command when addressing an issue of this sort. But,
I feel that this situation can not be look at objectively by my administrator due to the fact my
D.O.N. and her are sisters and that there is a serious conflict of interest. I look forward to
addressing this situation as soon as possible.



Sincerely,


Mark R Sanders RN
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"ITEM 13 CONTINUED"                                                                     EXHIBIT 4




Mark R Sanders                                                                          April2,20l8
P.O. Box 7657
Westchester, IL 60154



Symphony of Orchard Valley
2330 W Galena Blvd
Aurora, IL 60506


Dear: Administration / Corporate Symphony




Hello, my name is Mark R Sanders and I'm an employee (Nurse) here at Symphony of Orchard
Valley. Today I'm writing this letter as a formal grievance towards the Director of Nursing
(D.O.N.). This letter is in reference to an incident that took place on March 30, 2018 between
myself and the D.O.N. in which I was berated and humiliated in front of staff, residents and
family members due to a misstatement in my charting.

On this day in question I was approached by the D.O.N. at my kart in the 500-wing hallway near
the dining area. The conversation immediately started out confrontational / hostile by the D.O.N.
as evidenced by her brash tone of voice and head bobbing, to which I was taken aback and
confused. She goes on to tell me that I made a miss entry in my charting where I had said that I
had left a message for a particular doctor, but it was the wrong doctor. Easy mistake, to which
the solution would be to go and correct the charting (which I did). This only heightened her
irrationality and she became even more animated, at which point I attempted to deescalate the
situation by calmly and politely asking her to discuss this situation somewhere privately. Her
response was to state that I was such a big liar and abruptly walk off. All of this mind you in the
view of everyone. In my mind that was the end of it, but no.

The D.O.N. comes by to question me on two separate occasions on trivial matters i.e. who my
aid for the day was and what was the phone number of the doctor, things she could have easy
found out for herself by looking at the schedule and the communication book at the nursing
station. I interpreted these subsequent visits as an attempt to bait me into further confrontation.

On her finial visit I asked her again, can we go somewhere privately to talk to which she agreed.
She storms down to the A.D.O.N.'s office and once there immediately back in hostile territory
again (on her part). The conversation goes nowhere and in the mist of it all it becomes clear to
me that this person just doesn't like me and has some sort on vendetta against me, which is
interesting due to the lack of interaction that we've had during her tenure. She goes on to tell me
that my introverted personality makes me unmanageable and that she would fire me if she could,
also she didn't like the fact that was always going to corporate with complaints. I personally
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"ITEM   1.3   CONTINUED"                                                               EXHIBIT 4


think that she doesn't like black men (especially one that comes across as arrogant) and that her
efforts are racially motivated. It is my opinion that she did what she did, where she did it to
knock me down a peg and humiliate me. which seems to be a theme with her.

I recently had a family member approach me and tell me that she was also humiliated by this
D.O.N. She told me that it was alluded that she was filthy and had brought bed bugs in on her
person and infected her mom's room (M. Lenert). She told me this with tears in her eyes.

Needless to say, that this has cause me undue stress. I never know what to expect and it makes
for a very hostile work environment. I know for a fact that she would've never approached
another nurse in this manner and she has absolutely has no respect for me (without warrant).

I personally think that this D.O.N. lacks the aptitude or the temperament to effectively lead the
nursing staff of this facility and to continue with her would be at an adverse effect for all nurses
and the building as a whole.



P.S. while I have your attention. I would like to express my concern about what I perceived to
explicit drug use by staff member. It is my observation that some individual employed at this
facility have shown signs and symptoms of Adderall and/or marijuana abuse (Possibly other
scheduled medication without a presuiption). I'd think it to be in the company's best interest to
immediately do randomized drug screen on all employees for the best interest of our resident's.

Also, for three years I have been asking for a performance review to possibly get a raise in pay. I
ask again today for a performance review. Thanks.




Sincerely,


Mark R Sanders RN.
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